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                                       THREE DAYS’ NOTICE
 TO:      DR. STEVEN GREEK
         2'00 RECTOR PLACE
         APARTMENT 35F
         NEW YORK, NEW YORK 10280




                         March 2014   rent          $3,395.00
                         February 2014 rent         $3,395.00
                         January 2014 rent          $3,395.00
                         December 2013 rent balance $ 702.00
      PLEASE TAKE FURTHER NOTICE that
months were first credited towards the oldest           any monies paid during the above four
                                              outstanding month of rent.

or March 31, 2014, a date not less than
the Tenant or, in the alternative, to      three (3) days from the date of service of this Notice upon
                                      surrender the possession of the Premises to the Landlord   or the
Landlord will commence summary proceedings under the
of the Premises.                                              applicable statute to recover possession

Dated: New York, New York
       March 12, 2014

                                                      MARINERS COVE SITE B ASSOCIATES




                                                                          MILSTEIN, PARTNER




                                                                                                          LD001929
